IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

DONALD J. TRUMP FOR
PRESIDENT, INC., et al.,

Plaintiffs, Civil Action No. 4:20-cv-02078-

MWB
Vv.
KATHY BOOCKVAR, inher capacity ) ‘¥4g¢ Matthew W. Brann
as Secretary of the Commonwealth of Electronically Filed
Pennsylvania, et al.,

Defendants.

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DEFENDANT KATHY BOOCKVAR’S REPLY TO
PLAINTIFFS’ RESPONSE TO NOTICE OF SUPPLEMENTAL
AUTHORITY IN SUPPORT OF MOTION TO DISMISS

Bognet conclusively ends this case. Bognet v. Secretary of the Commonwealth
of Pennsylvania, --- F.3d ---, No. 20-3214, 2020 WL 6686120 (3d Cir. Nov. 13,
2020). No doubt recognizing as much, Plaintiffs filed an Amended Complaint on
November 15, 2020 in a last gasp effort to effort to avoid dismissal under Bognet.
The Amended Complaint changes nothing. Plaintiffs still lack standing to pursue an
equal protection claim challenging application of state election laws. The Third
Circuit held unequivocally in Bognet that, “when voters cast their ballots under a
state’s facially lawful election rule and in accordance with instructions from the
state’s election officials, private citizens lack Article III standing to enjoin the

counting of those ballots on the grounds that . . . doing so dilutes their votes or
constitutes differential treatment of voters in violation of the Equal Protection
Clause.” Jd. at *18, This case should be dismissed forthwith for lack of standing.
Plaintiffs’ Equal Protection claim—their only remaining claim'—telies on the
same theories rejected in Bognet*—that votes were “unconstitutionally diluted”
through the counting of ballots that failed to conform to the Election Code, Am.
Compl. {{[ 97, 102, and that purported differential implementation of notice and cure
procedures resulted in “arbitrary and disparate treatment” of voters by valuing some
votes more than others, id. [¥ 8, 95, 97, 152, 154. With respect to the former, Bognet
makes clear that “[t]his conceptualization of vote dilution—state actors counting
ballots in violation of state election law—is not a concrete harm under the Equal
Protection Clause of the Fourteenth Amendment.” Jd. at *11. As the Third Circuit

explained, “if dilution of lawfully cast ballots by the unlawful counting of invalidly

 

' Plaintiffs correctly concede that, under Bognet, they do not have standing to
assert a claim under the Electors or Elections Clauses. See Pls.” Resp. (ECF No.
124) at 1. They included a claim under the Electors and Elections Clauses in their
Amended Complaint (ECF No. 125) “to preserve it for appellate review.” See Pls.’
Br. in Opp’n to Mot. To Dismiss (ECF no. 126) at 2 n.1. The only other claim in
the Amended Complaint is the Equal Protection claim in Count I. All other claims,
including claims relating to poll watchers, have been abandoned.

2 See Bognet, 2020 WL 6686120 at *9 (“[Plaintiffs] contend that the influence
of their votes .. . is ‘diluted’... by ballots which Plaintiffs assert cannot be lawfully
counted. ...” and that extending the received-by deadline “create[s] a preferred class

of voters based on ‘arbitrary and disparate treatment’ that values ‘one person’s vote
over that of another’”) (citing Bush v. Gore, 531 U.S. 98, 104-05 (2000)).
cast ballots were a true equal-protection problem, then it would transform every
violation of state election law .. . into a potential federal equal-protection claim...
That is not how the Equal Protection Clause works.” /d. (citation and internal
quotation marks omitted). Nor is such a claim sufficiently particularized to confer
standing. To the contrary, Bognet holds that “[a] vote... counted illegally [] has a
mathematical impact on the final tally and thus on the proportional effect of every
vote, but no single voter is specifically disadvantaged. Such an alleged dilution is
suffered equally by all voters and is not particularized for standing purposes.” Jd. at
*12 (citations and internal quotation marks omitted). For either of these independent
reasons, Bognet requires the conclusion that the individual voter Plaintiffs lack
standing to bring an equal protection vote dilution claim.

Nor do Plaintiffs have standing to allege an injury in the form of arbitrary and
disparate treatment of in-person and mail-in and absentee voters, Am. Compl. 4 95,
or of mail-in voters residing in different counties, id { 158. Even if disparate
treatment could be proven, it would not result in any vote being valued more than
any other and therefore is not an injury in fact for purposes of the Equal Protection
Clause. 2020 WL 6686120 at *15. In addition, “a private citizen lacks a judicially
cognizable interest in the prosecution or nonprosecution of another” and therefore
the individual Plaintiffs lack standing to complain that other counties transgressed

the election laws but theirs did not. Jd. at *16 (citations omitted).
The Trump Campaign likewise lacks standing under the reasoning in Bognet.
Like the candidate in Bognet, the Trump Campaign does not and cannot “plead a
cognizable injury by .. . pointing to a ‘threatened’ reduction in the competitiveness
of his election from counting [allegedly improper] ballots.” Jd at *8. Allowing
additional ballots to be counted would not affect the Trump Campaign “in a
- particularized way when, in fact, all candidates in Pennsylvania, including
[Trump’s| opponent, are subject to the same rules.” Jd. Like the individual voter
Plaintiffs, Bognet requires the conclusion that the Trump Campaign lacks standing.

Recognizing that Bognet is fatal to their theories, Plaintiffs attempt to
recharacterize and recast their claims in their Response to the Notice of
Supplemental Authority (ECF No. 124) and, more recently, in their First Amended
Complaint (ECF No. 125). Their newest formulation of alleged harm changes
nothing. At bottom, Plaintiffs’ Equal Protection Claim boils down to alleged
disparate application of state law—they allege that voters in counties other than their
own were afforded an opportunity to cure defective ballots or cast provisional ballots
contrary to Plaintiffs’ preferred interpretation of the Election Code. See Am. Compl.
{ 158. This type of Equal Protection claim fails as a matter of law under Bognet.

The law was clear prior to the Third Circuit’s decision in Bognet that Plaintiffs
lack standing to pursue their alleged causes of action. See Secretary Boockvar’s Br.

in Supp. of Mot. to Dismiss (ECF 93) at 17-25. Bognet dispels any doubt and
compels the conclusion that Plaintiffs lack standing to challenge the certification of

election results under the equal protection clause. This Court should so rule.

 

 

Dated: November 15, 2020 Respectfully submitted,
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CERTIFICATE OF SERVICE

I hereby certify that on November 15, 2020, a copy of the foregoing was filed
electronically. Notice of this filing will be sent to all parties who have appeared in
this action via the Court’s electronic filing system. Parties may access this filing
through the Court’s system.

/s/ Daniel T. Brier

 

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